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Counsel to the Debtors
and Debtors in Possession
UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                  Chapter 11

JPA NO. 111 CO., LTD. and                               Case No.: 21-12075 (DSJ)
JPA NO. 49 CO., LTD.,
                                                        (Jointly Administered)
                                   1
                            Debtors.

       NOTICE OF FILING OF (I) FURTHER REVISED STALKING HORSE
    PURCHASE AGREEMENTS AND (II) FURTHER REVISED PROPOSED SALE
       ORDER IN CONNECTION WITH THE DEBTORS’ PROPOSED SALE

                 PLEASE TAKE NOTICE that on March 11, 2022, the Debtors filed the

Notice of Filing of Revised Stalking Horse Purchase Agreement and (II) Revised Proposed Sale

in Connection with the Debtors’ Proposed Sale [Docket No. 159] (the “Notice of Filing of

Revised Sale Documents”).2

                 PLEASE TAKE FURTHER NOTICE that attached hereto are copies of the

following documents, in substantially final form, relating to the Proposed Sale:

         •       Exhibit A-1: the further revised form of the Purchase Agreement relating
                 to Debtor MSN 067 Owner (the “MSN 067 Purchase Agreement”);

         •       Exhibit A-2: the further revised form of the Purchase Agreement relating
                 to Debtor MSN 173 Owner (the “MSN 173 Purchase Agreement” and,


1
    The Debtors in these Chapter 11 Cases are: JPA No. 111 Co., Ltd. and JPA No. 49 Co., Ltd. The
    Debtors’ corporate address is: Kasumigaseki Common Gate West Tower, 3-2-1 Kasumigaseki,
    Chiyoda-Ku, Tokyo 100-0013.

2
    Capitalized terms used but not otherwise defined herein have the meanings ascribed to such terms in
    the Notice of Filing of Revised Sale Documents.
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               together with the MSN 067 Purchase Agreement, the “Further Revised
               Stalking Horse Purchase Agreements”);

       •       Exhibit B: a redline of the MSN 173 Purchase Agreement showing
               changes from the form of the Stalking Horse Purchase Agreement
               attached as Exhibit A to the Notice of Filing of Revised Documents;3

       •       Exhibit C: the further revised proposed form of order approving the
               Proposed Sale (the “Further Revised Proposed Sale Order”); and

       •       Exhibit D: a redline of the Further Revised Proposed Sale Order showing
               changes from the form of proposed sale order attached as Exhibit C to the
               Notice of Filing of Revised Documents.4

               PLEASE TAKE FURTHER NOTICE that as part of a comprehensive

resolution and settlement, the Debtors, certain of the Debtors’ affiliates, FitzWalter, the

Intermediate Lessors, and the Proposed Purchaser have entered into that certain

Settlement Addendum, dated March 25, 2022, a copy of which is attached hereto as

Exhibit E (the “Settlement Addendum”) and which will be attached to the Sale Order.

Dated: March 25, 2022
       New York, New York                      JPA NO. 111 CO., LTD. and
                                               JPA NO. 49 CO., LTD.
                                               Debtors and Debtors in Possession
                                               By their Counsel
                                               TOGUT, SEGAL & SEGAL LLP
                                               By:

                                               /s/ Kyle J. Ortiz
                                               Frank A. Oswald
                                               Kyle J. Ortiz
                                               Bryan M. Kotliar
                                               Eitan E. Blander
                                               One Penn Plaza, Suite 3335
                                               New York, New York 10119
                                               Telephone: (212) 594-5000


3
    The form of the MSN 067 Stalking Horse Purchase Agreement and the MSN 173 Stalking Horse
    Purchase Agreement are substantially identical.

4
    The substantially final forms of the Further Revised Stalking Horse Purchase Agreements (as defined
    below) may be further revised as a result of ongoing negotiations. As such, the parties reserve the
    right to modify the Further Revised Stalking Horse Purchase Agreements consistent with
    paragraph 31 of the Further Revised Proposed Sale Order.



                                                 -2-
